                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,                         Case No. __________________________

                        Plaintiff,                 COUNTS ONE AND TWO:
                                                   Willful Retention of National Defense
        v.                                         Information
                                                   18 U.S.C. § 793(e)
 KENDRA KINGSBURY,                                 NMT: 10 years’ imprisonment
 [DOB: 10/4/1972]                                  NMT: $250,000 fine
                                                   NMT: 3 years’ supervised release
                        Defendant.                 Class C felony

                                                   $100 mandatory special assessment per count

                                      INDICTMENT

       THE GRAND JURY CHARGES THAT:

       At all times relevant to this Indictment:

                                       General Allegations

       1.       From in or about June 2004, up to and including on or about December 15, 2017,

KENDRA KINGSBURY, the defendant, was employed by the Federal Bureau of Investigation

(“FBI”), Kansas City Division, in the position of Intelligence Analyst. In her position as

Intelligence Analyst, the defendant was assigned to a sequence of different FBI “squads,” each of

which had a particular focus, such as, illegal drug trafficking, violent crime, violent gangs, and

counterintelligence. In connection with her FBI employment, and in furtherance of her duties as

an Intelligence Analyst, the defendant held a TOP SECRET//SCI security clearance and had

access to national defense and classified information.

                                     Classified Information

       2.       Pursuant to Executive Order 12958 signed on April 17, 1995, as amended by

Executive Order 13292 on March 25, 2003, and Executive Order 13526 on December 29, 2009,




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national security information was classified as “TOP SECRET,” “SECRET,” or

“CONFIDENTIAL.” National security information was information owned by, produced by,

produced for, and under the control of the United States government that was classified as

follows:

                A.     Information was classified as TOP SECRET if the unauthorized disclosure
       of that information reasonably could be expected to cause exceptionally grave damage to
       the national security that the original classification authority was able to identify and
       describe.

               B.      Information was classified as SECRET if the unauthorized disclosure of
       that information reasonably could be expected to cause serious damage to the national
       security that the original classification authority was able to identify and describe.

              C.       Information was classified as CONFIDENTIAL if the unauthorized
       disclosure of that information reasonably could be expected to cause damage to the
       national security that the original classification authority was able to identify and
       describe.

       2.      Access to national security information classified at any level could be further

restricted through compartmentation in Sensitive Compartmented Information (“SCI”) categories.

Only individuals with the appropriate security clearance and additional SCI permissions could

have authorized access to such classified national security information.

       3.      Classified information, including SCI, was marked according to its classification

and applicable SCI compartments, following standard formats for different types of media,

including headers and footers stating the highest classification level and SCI compartments of

information a document contained and individual classifications markings for each paragraph.

       4.      Information classified at any level could only be lawfully accessed by persons

determined by an appropriate United States government official to be eligible for access to

classified information, who had signed an approved non-disclosure agreement, who received a

security clearance, and who had a “need to know” the classified information.            Classified

information could only be stored in an approved facility and container.

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                                Relevant Government Agencies

       5.        The U.S. Intelligence Community (“USIC”) consisted of U.S. executive branch

agencies and organizations that worked separately and together to conduct intelligence activities

necessary for the conduct of foreign relations and the protection of the national security of the

United States.

       6.        The FBI was a U.S. government law enforcement and intelligence agency with

various offices and facilities, and was a component of the USIC. The FBI’s headquarters was

located in Washington, D.C. The FBI’s mission was to protect the American people and uphold

the Constitution of the United States. Priorities of the FBI, among other things, included:

protecting the United States from terrorist attacks; protecting the United States against foreign

intelligence operations and espionage; and protecting the United States against cyber-based attacks

and high-technology crimes.

       7.        Another government agency (“OGA”) was a U.S. government intelligence agency

with various offices and facilities in the Washington, D.C. metropolitan area, and was a component

of the USIC. The OGA was responsible for, among other things, analysis, collection, foreign

intelligence, and counterterrorism capabilities against urgent and important mission needs and

threats that were aligned with national intelligence priorities used to inform U.S. policy-makers;

and building a legacy of professional rapport of intelligence sharing with foreign partners

worldwide.

            The Defendant’s Access to National Defense and Classified Information

       8.        Over her many years of FBI employment holding a TOP SECRET//SCI security

clearance, the defendant received training regarding classified information, including the

definitions of classified information, the levels of classification, and SCI, as well as the proper



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handling, marking, transportation, and storage of classified materials. The defendant received

training on her duty to protect classified materials from unauthorized disclosure, which included

complying with handling, transportation, and storage requirements. The defendant knew that

unauthorized removal of classified materials and transportation and storage of those materials in

unauthorized locations risked disclosure and transmission of those materials, and therefore could

endanger the national security of the United States and the safety of its citizens. In particular, the

defendant was advised that unauthorized disclosure of SECRET information reasonably could be

expected to cause serious damage to the national security of the United States, and that violation

of rules governing the handling of classified information could result in criminal prosecution.

            The Defendant’s Removal and Retention of National Defense Information

       9.       Because the defendant held a security clearance, had received training regarding

the protection of classified information, and was employed by the FBI as an Intelligence Analyst,

the U.S. government entrusted the defendant with access to sensitive government materials,

including information relating to the national defense that was closely held by the U.S. government

(“National Defense Information”) and other classified documents and materials. The defendant

had access to these sensitive government materials at a secure area of the FBI’s Kansas City

Division and otherwise through secure government computer systems and programs.

       10.      Beginning at a time unknown, but no earlier than in or about June 2004, and

continuing through on or about December 15, 2017, the defendant improperly removed and

unlawfully and willfully retained, in her personal residence, sensitive government materials,

including National Defense Information and classified documents.            The defendant was not

authorized to remove and retain these sensitive government materials, including the National

Defense Information and classified documents. Nor did the defendant have a “need to know”



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most, if not all, of the information contained in those materials, including the National Defense

Information and classified documents. The defendant knew that she was not authorized to remove

and retain the materials, including the National Defense Information and classified documents.

                                          The Charges

        11.     Paragraphs 1 through 10 of this Indictment are incorporated by reference and

realleged as if set forth fully herein.

                                          COUNT ONE

        12.     From in or about June 2004, up to and including on or about December 15, 2017,

in the Western District of Missouri, and elsewhere, KENDRA KINGSBURY, the defendant,

having unauthorized possession of, access to, and control over documents relating to the national

defense, did willfully retain the documents and failed to deliver them to the officer or employee of

the United States entitled to receive them, to wit, the defendant without authorization retained

documents relating to the national defense at her personal residence, including the following:

        Numerous documents classified at the SECRET level from the FBI that describe

intelligence sources and methods related to U.S. government efforts to defend against

counterterrorism, counterintelligence, and cyber threats. The documents include details on the

FBI’s nationwide objectives and priorities, including specific open investigations across multiple

field offices. In addition, there are documents relating to sensitive human source operations in

national security investigations, intelligence gaps regarding hostile foreign intelligence services

and terrorist organizations, and the technical capabilities of the FBI against counterintelligence

and counterterrorism targets. These documents include:

 Doc. No.          Description                                                Classification Level

 1                 Feb. 2013 (approx.) presentation                           S//NF



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 2                Jan. 15, 2014 e-mail                                        S//NF/FISA

 3                Sep. 2014 (approx.) evaluation document                     S//NF

 4                Jan. 22, 2014 intelligence note                             S//OC/NF/FISA

 5                Mar. 2, 2009 intelligence bulletin                          S//OC/NF/FISA

 6                Mar. 2010 (approx.) document                                S//OC/NF/FISA

 7                Apr. 3, 2009 intelligence note                              S//OC/NF/FISA

 8                Jul. 31, 2008 assessment                                    S//NF

 9                Dec. 29, 2014 intelligence note                             S//NF/FISA

 10               Dec. 4, 2014 intelligence note                              S//NF


       In violation of Title 18, United States Code, Section 793(e).

                                         COUNT TWO

       13.     From in or about June 2004, up to and including on or about December 15, 2017,

in the Western District of Missouri, and elsewhere, KENDRA KINGSBURY, the defendant,

having unauthorized possession of, access to, and control over documents relating to the national

defense, did willfully retain the documents and failed to deliver them to the officer or employee of

the United States entitled to receive them, to wit, the defendant without authorization retained

documents relating to the national defense at her personal residence, including the following:

       Numerous documents classified at the SECRET level from the OGA that describe

intelligence sources and methods related to U.S. government efforts to collect intelligence on

terrorist groups. The documents include information about al Qaeda members on the African

continent, including a suspected associate of Usama bin Laden. In addition, there are documents

regarding the activities of emerging terrorists and their efforts to establish themselves in support

of al Qaeda in Africa. These documents include:

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 Doc. No.        Description                                            Classification Level

 11              Mar. 8, 2006 internal correspondence containing SCI    S//NF

 12              Feb. 3, 2006 internal correspondence                   S//NF

 13              Nov. 29, 2006 internal correspondence                  S//NF

 14              Nov. 24, 2006 internal correspondence                  S//NF

 15              Nov. 29, 2006 internal correspondence                  S//NF

 16              Nov. 24, 2006 internal correspondence                  S//NF

 17              Jul. 7, 2005 internal correspondence                   S//NF

 18              Mar. 24, 2006 internal correspondence                  S//NF

 19              Dec. 21, 2006 memo to FBI                              S//NF

 20              Nov. 22, 2006 internal correspondence containing SCI   S//NF


       In violation of Title 18, United States Code, Section 793(e).


                                                    A TRUE BILL.


5/18/2021                                           /s/ Pamela Carter-Smith
DATE                                                FOREPERSON OF THE GRAND JURY


/s/ Patrick C. Edwards
Patrick C. Edwards
David Raskin
Assistant United States Attorneys




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